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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division


     ELIZABETH SINES, SETH WISPELWEY,
     MARISSA   BLAIR,   APRIL  MUNIZ,
     MARCUS MARTIN, NATALIE ROMERO,
     CHELSEA ALVARADO, JOHN DOE, and
     THOMAS BAKER,

                                     Plaintiffs,             Civil Action No. 3:17-cv-00072-NKM

     v.

     JASON KESSLER, et al.,

                                     Defendants.


                  PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF
              THEIR RESPONSE REGARDING CHRISTOPHER CANTWELL’S
             ECF FILINGS 1062, 1063, 1064, 1065, 1066, 1077, 1078, 1084, 1085, 1086,
                   1087, 1088, 1089, 1090, 1096, 1097, 1098, 1099, 1102, 1103

           Plaintiffs previously brought to the Court’s attention that Defendant Christopher Cantwell

   appears to be using another inmate, William A. White, to participate in this litigation as a

   “ghostwriter” on his litany of recent filings. See ECF No. 1108 at 5-7. As Plaintiffs have explained,

   ghostwriting violates legal rules and reinforces the improper and harassing nature of Cantwell’s

   conduct. See id.

           On the single day of September 27, 2021, Cantwell made another eight submissions to the

   Court, all of which were docketed yesterday. See ECF Nos. 1119, 1120, 1121, 1122, 1123, 1124,

   1125, 1126. Plaintiffs file this supplemental brief to alert the Court that, like the filings identified

   in Plaintiffs’ previous submission, Cantwell’s recent filings appear to be similarly ghostwritten.

   Indeed, like those other recent filings—and very much unlike the filings that Cantwell made before

   the last several weeks—they are typewritten and contain formal, Bluebook-formatted legal
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   citations to cases, the Federal Rules of Civil Procedure, and Virginia statutes. See id.; compare id.

   with, e.g., ECF No. 1057 (informal handwritten submission, containing no legal citations, written

   in first person on lined paper).

          Cantwell’s apparent use of a ghostwriter is “considered the unauthorized practice of law.”

   see Greene v. U.S. Dep’t of Educ., No. 4:13cv79, 2013 U.S. Dist. LEXIS 143678, at *26-27 (E.D.

   Va. Oct. 1, 2013); see Sejas v. MortgageIT, Inc., No. 1:11CV469 JCC, 2011 WL 2471205, at *1

   (E.D. Va. June 20, 2011) (“the practice of ghost-writing legal documents to be filed with the Court

   by litigants designated as proceeding pro se is inconsistent with the procedural, ethical and

   substantive rules of this Court” (quoting Laremont-Lopez v. Se. Tidewater Opportunity Ctr., 968

   F. Supp. 1075, 1080-81 (E.D. Va. 1997))). Ghostwriting also undermines Cantwell’s simultaneous

   claims to be an unsophisticated pro se litigant lacking the necessary resources to meaningfully

   defend himself in this litigation. See, e.g., ECF No. 939 at 11 (asserting that “[r]epresenting myself

   in this case from this correction facility would be completely impossible”); ECF No. 1062 at 2-3

   (referring to himself as “pro se” and alleging “unavailability of legal resources to help [Cantwell]

   articulate his case”); see Greene, 2013 U.S. Dist. LEXIS 143678, at *27 (“Those who proceed pro

   se are afforded certain amounts of leniency that are not afforded represented parties. Ghost writing

   inexcusably abuses this leniency.”); Laremont-Lopez, 968 F. Supp. 1075, 1078 (E.D. Va. 1997)

   (ghostwriting by pro se litigants “unfairly exploits the Fourth Circuit's mandate that the pleadings

   of pro se parties be held to a less stringent standard than pleadings drafted by lawyers”).

          Indeed, since September 13, 2021, when Cantwell apparently began using a ghostwriter,

   he has made no fewer than 32 filings (including ten filings styled as motions in limine making

   various legal arguments)—more than some represented Defendants have made in four years of

   litigation on this case. See ECF Nos. 1062, 1063, 1064, 1065, 1066, 1077, 1078, 1084, 1085, 1086,




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   1087, 1088, 1089, 1090, 1096, 1097, 1098, 1099, 1102, 1103, 1109, 1110, 1119, 1120, 1121, 1122,

   1123, 1124, 1125, 1126, 1132, 1133. Furthermore, as Plaintiffs also brought to the Court’s

   attention, Cantwell’s apparent ghostwriter (who was convicted of soliciting the commission of a

   violent federal crime against a juror) has himself been placed on a restricted communications list

   after sending various threatening messages. See ECF No. 1108 at 6-7. 1

            The arguments made in Cantwell’s latest submissions—like his others—lack merit, and

   Plaintiffs intend to respond in a timely manner, to the extent they are not stricken. However,

   Plaintiffs respectfully submit that Cantwell’s continued brazen use of a ghostwriter is an egregious

   violation that should be addressed now in the interest of avoiding further harassment of Plaintiffs

   and the Court and further waste of judicial resources. Plaintiffs therefore reiterate their request that

   the Court reject and summarily strike any filings that were written by or with the aid of White or

   any other ghostwriter and order that Cantwell is explicitly forbidden from using White or any other

   ghostwriter in his pro se filings.



   Date: September 30, 2021

                                                                   Respectfully submitted,



                                                                   Roberta A. Kaplan (pro hac vice)
                                                                   Michael L. Bloch (pro hac vice)
                                                                   Yotam Barkai (pro hac vice)
                                                                   Emily C. Cole (pro hac vice)
                                                                   Alexandra K. Conlon (pro hac vice)
                                                                   Jonathan R. Kay (pro hac vice)

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     This is not the first time in this litigation that the issue of a Defendant using a ghostwriter has arisen. Indeed, in
   March 2018, in response to one of Plaintiffs’ interrogatories, Defendant Michael Peinovich essentially admitted to
   using a ghostwriter (characterizing him as a “consulting attorney”). See ECF No. 330, Ex. B, at 7. When Peinovich
   refused to disclose the identity of his ghostwriter, contrary to binding authority, Plaintiffs moved to compel
   Peinovich’s response. See ECF No. 330. In September 2018, the Court dismissed Plaintiffs’ motion as moot after
   Peinovich was dismissed from the case. See ECF No. 352.



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                                            KAPLAN HECKER & FINK LLP
                                            350 Fifth Avenue, 63rd Floor
                                            New York, NY 10118
                                            Telephone: (212) 763-0883
                                            rkaplan@kaplanhecker.com
                                            mbloch@kaplanhecker.com
                                            ybarkai@kaplanhecker.com
                                            ecole@kaplanhecker.com
                                            aconlon@kaplanhecker.com
                                            jkay@kaplanhecker.com
                                            Counsel for Plaintiffs




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     Of Counsel:

     Roberta A. Kaplan (pro hac vice)         Karen L. Dunn (pro hac vice)
     Julie E. Fink (pro hac vice)             Jessica E. Phillips (pro hac vice)
     Gabrielle E. Tenzer (pro hac vice)       William A. Isaacson (pro hac vice)
     Michael L. Bloch (pro hac vice)          Arpine S. Lawyer (pro hac vice)
     Yotam Barkai (pro hac vice)              PAUL, WEISS, RIFKIND, WHARTON &
     Emily C. Cole (pro hac vice)             GARRISON LLP
     Alexandra K. Conlon (pro hac vice)       2001 K Street, NW
     Jonathan R. Kay (pro hac vice)           Washington, DC 20006-1047
     Benjamin D. White (pro hac vice)         Telephone: (202) 223-7300
     KAPLAN HECKER & FINK LLP                 Fax: (202) 223-7420
     350 Fifth Avenue, Suite 7110             kdunn@paulweiss.com
     New York, NY 10118                       jphillips@paulweiss.com
     Telephone: (212) 763-0883                wisaacson@paulweiss.com
     rkaplan@kaplanhecker.com                 alawyer@paulweiss.com
     jfink@kaplanhecker.com
     gtenzer@kaplanhecker.com
     mbloch@kaplanhecker.com
     ybarkai@kaplanhecker.com
     ecole@kaplanhecker.com
     aconlon@kaplanhecker.com
     jkay@kaplanhecker.com
     bwhite@kaplanhecker.com

     Makiko Hiromi (pro hac vice)             Robert T. Cahill (VSB 38562)
     Nicholas A. Butto (pro hac vice)         COOLEY LLP
     PAUL, WEISS, RIFKIND, WHARTON &          11951 Freedom Drive, 14th Floor
     GARRISON LLP                             Reston, VA 20190-5656
     1285 Avenue of the Americas              Telephone: (703) 456-8000
     New York, NY 10019-6064                  Fax: (703) 456-8100
     Telephone: (212) 373-3000                rcahill@cooley.com
     Fax: (212) 757-3990
     mhiromi@paulweiss.com
     nbutto@paulweiss.com

     Alan Levine (pro hac vice)               David E. Mills (pro hac vice)
     Philip Bowman (pro hac vice)             Joshua M. Siegel (VSB 73416)
     COOLEY LLP                               Caitlin B. Munley (pro hac vice)
     55 Hudson Yards                          Samantha A. Strauss (pro hac vice)
     New York, NY 10001                       Alexandra Eber (pro hac vice)
     Telephone: (212) 479-6260                COOLEY LLP
     Fax: (212) 479-6275                      1299 Pennsylvania Avenue, NW
     alevine@cooley.com                       Suite 700


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     pbowman@cooley.com                       Washington, DC 20004
                                              Telephone: (202) 842-7800
                                              Fax: (202) 842-7899
                                              dmills@cooley.com
                                              jsiegel@cooley.com
                                              cmunley@cooley.com
                                              sastrauss@cooley.com
                                              aeber@cooley.com
     J. Benjamin Rottenborn (VSB 84796)
     WOODS ROGERS PLC
     10 South Jefferson St., Suite 1400
     Roanoke, VA 24011
     Telephone: (540) 983-7600
     Fax: (540) 983-7711
     brottenborn@woodsrogers.com
                                              Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on September 30, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

    Elmer Woodard                                      David L. Campbell
    5661 US Hwy 29                                     Justin Saunders Gravatt
    Blairs, VA 24527                                   Duane, Hauck, Davis & Gravatt, P.C.
    isuecrooks@comcast.net                             100 West Franklin Street, Suite 100
                                                       Richmond, VA 23220
    James E. Kolenich                                  dcampbell@dhdglaw.com
    Kolenich Law Office                                jgravatt@dhdglaw.com
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249                               Counsel for Defendant James A. Fields, Jr.
    jek318@gmail.com

    Counsel for Defendants Jason Kessler, Nathan
    Damigo, and Identity Europa, Inc. (Identity
    Evropa)

    Bryan Jones                                        William Edward ReBrook, IV
    106 W. South St., Suite 211                        The ReBrook Law Office
    Charlottesville, VA 22902                          6013 Clerkenwell Court
    bryan@bjoneslegal.com                              Burke, VA 22015
                                                       edward@rebrooklaw.com
    Counsel for Defendants Michael Hill, Michael
    Tubbs, and League of the South               Counsel for Defendants Jeff Schoep, National
                                                 Socialist Movement, Nationalist Front,
                                                 Matthew Parrott, Traditionalist Worker Party
                                                 and Matthew Heimbach

    Joshua Smith
    Smith LLC
    807 Crane Avenue
    Pittsburgh, PA 15216-2079
    joshsmith2020@gmail.com

    Counsel for Defendants Matthew Parrott,
    Traditionalist Worker Party and Matthew
    Heimbach




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           I hereby certify that on September 30, 2021, I also served the following non-ECF
   participants via mail and electronic mail:

    Richard Spencer                               Christopher Cantwell
    richardbspencer@icloud.com                    Christopher Cantwell 00991-509
    richardbspencer@gmail.com                     USP Marion, 4500 Prison Rd.
                                                  P.O. Box 2000
                                                  Marion, IL 62959

    Vanguard America                              Robert “Azzmador” Ray
    c/o Dillon Hopper                             azzmador@gmail.com
    dillon_hopper@protonmail.com

    Elliott Kline a/k/a Eli Mosley
    eli.f.mosley@gmail.com
    deplorabletruth@gmail.com
    eli.r.kline@gmail.com


                                                  _________________
                                                  Michael L Bloch (pro hac vice)
                                                  KAPLAN HECKER & FINK LLP

                                                  Counsel for Plaintiffs




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